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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


                                 )
DEVONTE BOLDON                   )
                                 )
                 plaintiff,      )
                                 )
             vs.                 )         No.
                                 )         Judge
CHICAGO POLICE OFFICERS          )
DAVID SALGADO, STAR # 16347;     )
ROCCO PRUGER, STAR # 15445;      )
ASAHI HAYDEN, STAR #10118;       )
RICHARD MOSTOWSKI, STAR #12898; )
XAVIER ELIZONDO, STAR #1340;     )
B. MARTINEZ, STAR #14519;        )
NICHOLAS D’ANGELO, STAR #16801; )
JEFFERY CARIBOU, STAR #7416;     )
UNKNOWN                          )
CHICAGO POLICE OFFICERS; and     )         JURY DEMAND
THE CITY OF CHICAGO, a Municipal )
Corporation,                     )
                 defendants.     )


                             COMPLAINT AT LAW


     NOW COMES the PLAINTIFF, DEVONTE BOLDEN, by and through his attorneys,

Bedi & Singer, LLP and complains of DEFENDANTS, CHICAGO POLICE OFFICERS

DAVID SALGADO, STAR # 16347; ROCCO PRUGER, STAR # 15445; A. HAYDEN, STAR

#10118; R.S. MOSTOWSKI, STAR #12898; XAVIER ELIZONDO, STAR # 1340; B.

MARTINEZ, STAR #14519; N.D. D’ANGELO, STAR #16801; J.D. CARIBOU, STAR #7416,

OTHER UNKNOWN CHICAGO POLICE OFFICERS (hereinafter “DEFENDANT




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OFFICERS”); and THE CITY OF CHICAGO (herein after “DEFENDANT City of Chicago) , as

follows:

                                           JURISDICTION

   1. This complaint alleges violations of plaintiff’s constitutional and civil rights protected

       under title 42 United States Code §1983. This Court has jurisdiction pursuant to title 28

       United States Code §1331 and 1343.

   2. This complaint also alleges violations of Plaintiff’s rights under state law. Jurisdiction of

       this court is invoked pursuant to its supplemental jurisdiction under title 28 United States

       Code §1367.

                                              VENUE

   3. The violations alleged herein occurred in the Northern District of Illinois; therefore,

       venue is proper in this district pursuant to title 28, United States Code §1391. Further, the

       Plaintiff and DEFENDANT OFFICERS reside within this jurisdictional district and

       DEFENDANT CITY OF CHICAGO is a municipal corporation located within this

       district.

   4. The DEFENDANT OFFICERS were at all times material hereto, duly appointed Chicago

       Police Officers employed by the City of Chicago acting in the capacity of sworn law

       enforcements officials.

                            FACTS COMMON TO ALL COUNTS

   5. Plaintiff DEVONTE BOLDON (“BOLDON”) is a 24 year-old African American resident

       of the City of Chicago, Illinois.




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6. Defendant City of Chicago is a municipal corporation under the laws of the State of

   Illinois.

7. Defendant Officer SALGADO is an officer with the Chicago Police Department.

8. Defendant Officer PRUGER is an officer with the Chicago Police Department.

9. Defendant Officer A. HAYDEN, STAR #10118 is an officer with the Chicago Police

   Department.

10. Defendant Officer R.S. MOSTOWSKI, STAR #12898 is an officer with the Chicago

   Police Department.

11. Defendant Officer XAVIER ELIZONDO, STAR # 1340 is an officer with the Chicago

   Police Department.

12. Defendant Officer B. MARTINEZ, STAR #14519 is an officer with the Chicago Police

   Department.

13. Defendant Officer N.D. D’ANGELO, STAR #16801 is an officer with the Chicago

   Police Department.

14. Defendant Officer J.D. CARIBOU, STAR #7416 is an officer with the Chicago Police

   Department.

15. Unknown Defendants are officers with the Chicago Police Department.

16. On the afternoon of April 1, 2017, at approximately 18:21 in the City of Chicago, Illinois,

   BOLDON was visiting the home of James Cannon located at 2141 East 70th Street. At

   all times relevant hereto, BOLDON was not in violation of any laws.

17. DEFENDANT OFFICERS, entered the home of James Cannon, the leaseholder of the

   property, who allegedly gave them permission to enter the home.



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18. BOLDON was unlawfully arrested by DEFENDANT OFFICERS and eventually charged

   with aggravated unlawful use of a weapon by felon under Indictment number 17 CR

   7768. Such indictment resulted from the false testimony provided to the Grand Jury by

   DEFENDANT OFFICER PRUGAR on May 22, 2017.

19. When the DEFENDANT OFFICERS searched the house, the DEFENDANT OFFICERS

   recovered money that was not inventoried.

20. At such time, Defendant OFFICER Salgado knew such charges were without basis in fact

   or law and were being filed by the defendants to cover up and provide a false justification

   for the illegal and wrongful acts perpetrated against BOLDON described herein.

21. BOLDON was forced to defend himself against these false charges and hired counsel to

   defend him.

22. But for the DEFENDANT OFFICERS’ misconduct outlined above, the criminal

   prosecution of the BOLDON would not have occurred.

23. In May 2018, In May 2018, DEFENDANT OFFICER SALGADO and ​ELIZONDO were

   indicted and charged in Federal criminal case under case number 18-CR-286 for

   conspiring with others to commit criminal offenses against the United States in their

   capacity as Chicago Police Officer.

24. On May 24, 2018, the Cook County State’s Attorney office dismissed all charges against

   BOLDON.

25. BOLDON wrongfully incarcerated causing extreme mental and physical hardships,

   physical injury, as well as, humiliation and indignities.

                               Count I – 42 U.S.C. ​§​ 1983



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                                        (Defendant Officers)

   26. BOLDON realleges paragraphs 1 through 25 as if fully re-pleaded herein.

   27. On April 1, 2017, the DEFENDANT OFFICERS, falsely arrested and unlawfully

       detained BOLDON without a warrant, justification and without probable cause. This

       arrest was in violation of the BOLDON’S rights secured under the Fourth and Fourteenth

       Amendments of the Constitution of the United States.

   28. The DEFENDANT OFFICERS acted unlawfully and maliciously with reckless

       indifference to the right of others and specifically BOLDON.

   29. The DEFENDANT OFFICERS arrested BOLDON and falsely imprisoned him without

       any legal right to do so, in their official capacity as law enforcement officers, under color

       of state law, and acting within the scope of their employment.

   30. As a direct and proximate result of this illegal arrest force, BOLDON has suffered

       extensive damages, including but not limited to: prolonged physical incarceration, severe

       emotional harm, legal and other out of pocket costs and other damages which will be

       proven at trial.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                                         Count II – False Arrest

                                           (​Defendant Officers)

   31. BOLDON re-alleges paragraphs 1 through 25 as if fully re-pleaded herein.



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32. Jurisdiction of this court is invoked pursuant to its supplemental jurisdiction under title

   28 United States Code §1367.

33. The DEFENDANT OFFICERS wrongfully, falsely, and maliciously charged BOLDON

   of the crime of aggravated unlawful use of a weapon by felon when, in fact, they knew

   such charges to be false.

34. The arrest and imprisonment of BOLDON was caused by the DEFENDANT OFFICERS

   without any warrant, without authority of the law, without any reasonable cause or belief

   that BOLDON was in fact guilty of a crime, without exigent circumstances, and without

   any other legal justification.

35. The DEFENDANTS were acting within the scope of their employment and within the

   rules and customs of the Chicago Police Department when they falsely arrested

   BOLDON under color of state law.

36. As a result of the aforesaid accusations made by the DEFENDANT OFFICERS under

   their employment and within the scope of their authority, made falsely and maliciously,

   BOLDON was compelled to appear before a Judge of the Circuit Court of Cook County

   where he was arraigned and charged with a crime.

37. DEFENDANT OFFICERS instituted and continued the judicial proceedings against

   BOLDON without probable cause and knowing that BOLDON was not guilty of the

   crimes for which he was being charged.

38. Said charges were dismissed on May 24, 2018, thereby fully and finally terminating the

   case in BOLDON’S favor.




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   39. As a direct and proximate result of this illegal and malicious conduct, BOLDON has

       suffered extensive damages, including but not limited to: severe emotional harm,

       incarceration, legal and other out-of-pocket costs and other damages which will be

       proven at trial.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                               Count III – Malicious Prosecution

                                   (Against Defendant Officers)

   40. BOLDON re-alleges paragraphs 1 through 25 as if fully re-pleaded herein.

   41. Jurisdiction of this court is invoked pursuant to its supplemental jurisdiction under title

       28 United States Code §1367.

   42. DEFENDANTS OFFICERS initiated and continued judicial proceedings against

       BOLDON by making false statements in police reports and causing false testimony to be

       presented to a Cook County Grand Jury. This false and malicious conduct resulted in

       BOLDON being charged with and prosecuted for a felony aggravated unlawful use of a

       weapon by felon.

   43. DEFENDANTS OFFICERS instituted and continued the judicial proceedings against

       BOLDON without probable cause and knowing that BOLDON was not guilty of the

       crime for which he was being charged.




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   44. DEFENDANT OFFICERS instituted the judicial proceedings against BOLDON with

       malice and with willful and wanton disregard for the truth.

   45. DEFENDANT OFFICERS brought said false charges and continued the prosecution of

       such false charges in order to cover up their own illegal conduct.

   46. On May 24, 2018​ ​all charges were dismissed against BOLDON, thereby fully and finally

       terminating the case in BOLDON’S favor.

   47. As a direct and proximate result of this illegal and malicious conduct, BOLDON has

       suffered extensive damages, including but not limited to: severe emotional harm,

       deterioration of psychological condition, legal and other out-of-pocket costs, and other

       damages which will be proven at trial.

   48. DEFENDANT OFFICER’S illegal conduct as aforesaid amounts to malicious

       prosecution by DEFENDANT OFFICERS against BOLDON.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                                Count V – EXCESSIVE FORCE

                             (Against Defendant Officer SALGADO)

   49. BOLDON adopts and realleges paragraphs 1-25 as if fully re-pleaded herein.

   50. During and immediately after BOLDON’S seizure, DEFENDANT OFFICER

       SALGADO used excessive force against BOLDON’S person.




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   51. There was no legal cause for DEFENDANT OFFICER SALGADO to use force against

       BOLDON.

   52. By reason of DEFENDANT OFFICER SALGADO’s conduct, BOLDON was deprived

       of rights, privileges and immunities secured to him by the Fourth, and/or Fourteenth

       Amendment to the Constitution of the United States and laws enacted thereunder.

   53. The physical violence inflicted upon BOLDON by DEFENDANT OFFICER SALGADO

       was unnecessary, unreasonable and excessive, and was therefore in violation of

       BOLDON’S Fourth and/or Fourteenth Amendment Rights.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                                 Count VI – Conspiracy Claims

                                        (Defendant Officers)

   54. BOLDON realleges paragraphs 1 through 25 as if fully re-pleaded herein.

   55. As outline above, the DEFENDANT OFFICERS conspired and agreed to unlawfully use

       the police powers of the DEFENDANT OFFICERS to violate the civil rights of

       BOLDON and charge him with a crime he did not commit.

   56. The DEFENDANT OFFICERS took overt acts in furtherance of the conspiracy, which

       included fabricating evidence, providing false information in sworn reports, signing false

       criminal complaints, and providing perjured and false testimony in criminal proceedings




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       which resulted in a deprivation of the BOLDON’S liberty and false criminal charges

       being brought against him.

   57. The DEFENDANT OFFICERS individually and in conspiracy, in the course and scope

       of their employment, during the arrest of BOLDON and during the pendency of the

       judicial proceedings against BOLDON, intentionally inflicted emotional distress upon

       BOLDON and caused BOLDON to be falsely arrested, maliciously prosecuted, and

       wrongfully imprisoned and was conducted with reckless indifference to BOLDON’S

       rights.

   58. The DEFENDANT OFFICERS conduct in arresting, imprisoning, and continuing

       BOLDON imprisonment was malicious, willful, wanton, and accomplished for the

       purpose of concealing their wrongful acts and conspiracy.

   59. The aforementioned actions of the DEFENDANT OFFICERS were the direct and

       proximate cause of the violations of the United States Constitution, the Fourth

       Amendment and Fourteenth Amendment.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                                Count VII – Municipal Liability

                               (Against Defendant City of Chicago)

   60. BOLDON adopts and realleges paragraphs 1-25 as if fully re-pleaded herein.




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61. Jurisdiction of this court is invoked pursuant to its supplemental jurisdiction under 28

   U.S.C. ​§​1367.

62. The violations of the BOLDON’S constitutional rights as described in this complaint

   were caused by implementation of policies and practices of the DEFENDANT City of

   Chicago.

63. The DEFENDANT City of Chicago has a duty to train, supervise, and discipline Chicago

   Police Officers.

64. The above described deprivation of BOLDON’S rights was caused by the failure of

   DEFENDANT City of Chicago to adequately train, supervise, and discipline Chicago

   Police Officers on a continuing basis regarding their duties to refrain from unlawfully and

   maliciously arresting African American citizens who are acting fully in conformity with

   all laws, statutes, and ordinances and conspiring to violate the rights, privileges, and

   immunities guaranteed to BOLDON by laws, statutes, and ordinances of the United

   States and the State of Illinois.

65. The policy and practice of DEFENDANT City of Chicago to fail to train, supervise, and

   discipline officers regarding proper arrest procedures prior to the incidents described

   herein, despite being aware of such deficiencies.

66. In May 2018, DEFENDANT OFFICER SALGADO and ​ELIZONDO were ​indicted and

   charged in Federal criminal case under case number 18-CR-286 for conspiring with

   others to commit criminal offenses against the United States in their capacity as Chicago

   Police Officers.




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   67. The Indictment contains multiple instances of this behavior which is indicative of the

       pattern and practice alleged herein

   68. At no point was DEFENDANT OFFICER SALGADO disciplined or sanctioned in any

       manner for the criminal conduct that was alleged in the indictment.

   69. By its policies of non-feasance and deliberate indifference in the aforementioned area

       DEFENDANT City of Chicago, through the Chicago Police Department, let it be known

       to its supervisors and officers, such as DEFENDANT OFFICERS, that DEFENDANT

       City of Chicago condoned, ratified and by virtue thereof encouraged the unwarranted and

       illegal misconduct by said officers.

   70. As a direct and proximate cause of the wrongdoing of DEFENDANT City of Chicago,

       BOLDON suffered injuries, including loss of liberty, mental anguish, emotional

       damages, including emotional distress and a disruption of daily life functions.

       WHEREFORE, BOLDON prays judgment against the DEFENDANT OFFICERS in a

fair and just amount sufficient to compensate him for the injuries suffered, plus, BOLDON seeks

a substantial sum in punitive damages against each of the DEFENDANT OFFICERS, as well as,

costs and reasonable attorney fees, and all such other relief as this Court finds just and equitable.

                                  Count VIII- Indemnification

   71. BOLDON realleges and incorporates paragraph 1-18 as fully stated herein

   72. In Illinois, public entities are directed to pay any tort judgment for compensatory

       damages for which employees are liable within the scope of their employment activities.

       735 ILCS 10/9-102.




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   73. The DEFENDANT OFFICERS acted within their scope of their employment in

       committing the misconduct described herein. Therefore, DEFENDANT City of Chicago

       is liable as their employer for any resulting damages of award of attorney’s fees.

   WHEREFORE, BOLDON respectfully prays that this court grant judgment against the

DEFENDANTS, CHICAGO POLICE OFFICERS DAVID SALGADO, STAR # 16347;

ROCCO PRUGER, STAR # 15445; A. HAYDEN, STAR #10118; R.S. MOSTOWSKI, STAR

#12898; XAVIER ELIZONDO, STAR # 1340; B. MARTINEZ, STAR #14519; N.D.

D’ANGELO, STAR #16801; J.D. CARIBOU, STAR #7416, OTHER UNKNOWN CHICAGO

POLICE OFFICERS ; and THE CITY OF CHICAGO, awarding compensatory damages, costs

and attorneys fees, along with punitive damages against the DEFENDANT OFFICERS in their

individual capacities, as well as any other relief this court deems just and appropriate.

                                            JURY DEMAND

       PLAINTIFF, BOLDON, demands a trial by jury under the Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                                              By:     /s/ Dena M. Singer
                                                                      Attorney for Plaintiff
                                                                      Dena M. Singer

                                                              By:     /s/ Jonathan S. Bedi
                                                                      Attorney for Plaintiff
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